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1                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
2                                EASTERN DIVISION
3
4    NATHSON E. FIELDS,            )
                                   )
5                      Plaintiff, )             Docket No. 10 C 1168
                                   )
6                 vs.              )
                                   )
7    CITY OF CHICAGO, et al.,      )            Chicago, Illinois
                                   )            May 2, 2011
8                      Defendants. )            10:00 a.m.
9
                            TRANSCRIPT OF PROCEEDINGS
10                  BEFORE THE HONORABLE MATTHEW F. KENNELLY
11
     APPEARANCES:
12
13   For the Plaintiff:           LAW OFFICES OF H. CANDACE GORMAN
                                       BY: MS. H. CANDACE GORMAN
14                                     220 South Halsted Street
                                       Suite 200
15                                     Chicago, Illinois 60661
16
                                        MS. MELISSA A. MATUZAK
17                                      53 West Jackson Boulevard
                                        Suite 1650
18                                      Chicago, Illinois 60604
19
     For the Defendant:           DYKEMA GOSSETT PLLC
20                                     BY: MR. DANIEL M. NOLAND
                                            MR. PAUL A. MICHALIK
21                                     10 South Wacker Drive
                                       Suite 2300
22                                     Chicago, Illinois 60606
23
                                  COOK COUNTY STATE'S ATTORNEY
24                                     BY: MR. STEPHEN L. GARCIA
                                       500 Richard J. Daley Center
25                                     Chicago, Illinois
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1         (The following proceedings were had in open court:)
2                THE CLERK: 10 C 1168, Fields v. City.
3                MS. GORMAN: Good morning, your Honor; Candace Gorman
4    for plaintiff.
5                MS. MATUZAK: And Melissa Matuzak, M-a-t-u-z-a-k, for
6    plaintiff Nathson Fields. And I am also standing in for
7    Leonard Goodman, who is in Charleston, Illinois, this morning.
8                MR. MICHALIK: Paul Michalik on behalf of defendant
9    City and the police officer defendants.
10               MR. NOLAND: Dan Noland for the City defendants as
11   well.
12               MR. GARCIA: Good morning, your Honor; Stephen Garcia
13   on behalf of the State's Attorney defendants and Cook County.
14               THE COURT: Okay. So have you talked about a
15   schedule?
16               MR. MICHALIK: We have, your Honor. We met this
17   morning, and there are going to be a number of issues that are
18   involved.
19               One of the things that we would like to do is, first
20   off, we need to get our hands around the criminal proceedings
21   and the criminal trial. We would like to make meaningful
22   Rule 26 disclosures rather than just putting something
23   together and then, you know, continually supplementing that.
24               One of the things that we had discussed, and if it's
25   agreeable with the Court, is to see if we can get our hands on
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1    the State's Attorney's file and all the materials that are
2    involved with that.
3                THE COURT: That's been pending for a year and a half
4    or a year and three months and nobody's done that yet?
5                MR. GARCIA: It has, Judge, but there's also been
6    ancillary proceedings in the criminal matter. So it's not
7    been --
8                THE COURT: I see. Since the case was filed?
9                MR. GARCIA: He has been seeking an innocence
10   petition.
11               THE COURT: Oh, okay.
12               MR. GARCIA: And that's still ongoing, I've been
13   informed by counsel this morning.
14               THE COURT: Got it, okay.
15               MR. MICHALIK: So what we would like to do is get
16   what we can out of that and then maybe come back and report to
17   the Court within 45 days as to a discovery plan.
18               THE COURT: No. There is absolutely zero chance that
19   that is going to happen, if I'm going to wait 45 days just to
20   set a discovery schedule. I mean, it's just not going to
21   happen. I'm sorry.
22               MS. GORMAN: Your Honor, if I may?
23               THE COURT: So what is plan B?
24               MS. GORMAN: Two things that we need first is the
25   answer to the complaint. We don't have an answer yet.
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1                THE COURT: Well, that's already due. I mean, the
2    rules provide that when a motion to dismiss is denied, an
3    answer is due on X. I don't remember what the X is. It's
4    probably already run, though.
5                MR. MICHALIK: It has, your Honor, and we spoke about
6    that, and plaintiff's counsel has agreed to extend us another
7    14 days to get the answers on file. There's a number of them.
8                THE COURT: Is that true for everybody?
9                MR. GARCIA: We're going to take an appeal from the
10   dismissal order on the main issues, Judge.
11               THE COURT: Fine.
12               MS. GORMAN: And as far as 26(a)(1s), we're pretty
13   much ready with our 26(a)(1s), but I understand that they have
14   not even received some of the files. So I had agreed for
15   30 days for them to get all of that and do a meaningful
16   26(a)(1) instead of having them just pull together a blanket.
17               THE COURT: I will give you 30 days to do 26(a)(1s).
18   That's the 1st of June. I'm going to set a discovery schedule
19   on the 2nd of June, okay. So you're set for a status on the
20   2nd of June at 9:30.
21               And, I mean, as far as getting files out of other
22   people's hands, well, like I said, the case was filed in
23   February of 2010. I have had defendants in the case since --
24   some defendants in the case since April of 2010, so a little
25   over a year. And I understand there's other proceedings going
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1    on, but things are going to start moving at this point.
2                The notice of appeal has got to be due within the
3    next few days.
4                MR. GARCIA: Monday.
5                THE COURT: All right. So is there anything else we
6    need to talk about today?
7                MR. MICHALIK: I think that's it.
8                THE COURT: Okay, take care.
9                MR. GARCIA: Thank you, Judge.
10               MR. NOLAND: Thank you.
11               MS. GORMAN: Thank you.
12        (Which were all the proceedings had in the above-entitled
13   cause on the day and date aforesaid.)
14                             C E R T I F I C A T E
15
16             I hereby certify that the foregoing is a true and
17   correct transcript of the above-entitled matter.
18
19
20   /s/ Laura M. Brennan                                  November 1, 2017
21
22
     Laura M. Brennan
23   Official Court Reporter                                       Date
     Northern District of Illinois
24
25
